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. Case: 1:20-cv-00111 Document #: 9 Filed: 01/31/20 Page 5 of 8 PagelD #:46

 

Housing Unit: =01-002L

Inmate Name: -.taham, Fredrick
Reg Number: ___27970-044

 

 

 

 

 

 

 

 

First, your written requests need to begin with an inmate request to
staff documented on the proper form.

Second, this is not a religious issue. Chaplains only determine eligibility
for participants on the list. Any concerns or complaints with actual
meals served is a food production issue and should be addressed
directly with Food Service Management. Your complaints have been
forwarded accordingly.

Further, if you are not satisfied with their response, you have the
option to voluntarily withdraw from common fare if you feel you need
more calories through double portions. You may consult with a
dietitian to best tailor your diet to your needs.

Finally, you have the administrative remedy process available to you
through your counselor. You must exhaust that process in sequential
order prior to attempting any sort of judicial relief.
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Reg No.2 7970 O44
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U.S *iedical Center fe- — ederal Prisoners
P.O. Box 4000
Springfield, iMO 65801

    
    
   
 
 
 
 
   

The enclosed letter was processed through

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